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wEsTERN DIsTRlCT oF TENNESSEE iam 315 g dc
U.s.A.vs. Rodnev Mcchee noeketNo. 2=01CR20005-01 95"’?§`»"4_9! ’~" it 3: ha

  
 

Petition on Probation and Supervised Release

report upon the conduct and attitude of Rodney McGhee who was placed on supervision by the Honorable
Julia S. Gibbons sitting in the court at Memphis, TN on themday of August, M ,who fixed the period
of supervision at three 131 years * , and imposed the general terms and conditions theretofore adopted by the
Court and also imposed Special Conditions and terms as follows:

l. The defendant shall submit to drug testing and treatment as deemed appropriate by the Probation
Office.

2. The defendant shall maintain employment

3. The defendant shall make restitution in the amount to be determined by the Probation Oft'lce but not

to exceed $4,303.22. (Balance: $2,478.22)
4. The defendant shall pay restitution in One Hundred Dollar ($100.00) monthly installments **

* Supervision began on May 22, 2002.
** On November 5, 2004, the Court modified the Special Conditions by imposing the specific
restitution payment plan.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Rodney McGhee’s Supervised Release is due to expire on May 21 , 2005, but he has not paid restitution in lilll. With
a net monthly income of approximately $2,3 00.00, Mr. McGhee has been ordered to pay $100.00 monthly
However, since December of 2004, he has fallen behind on his payment plan. This is because deductions from his
paycheck for child support more than doubled from $436.00 to $930.00 monthly (due to back child support).
Accordingly, Mr. McGhee continues to have a limited ability to pay. Mr. McGhee has been compliant With the other
conditions and appears to have paid to the best of his abiiity. Mr. McGhee has signed a payment agreement for the
United States Attorney’s Oftice to continue making restitution payments after expiration of supervision Once the
back child support debt has been caught up, he should then have the ability to pay One Hundred Dollars ($100.00)
monthly

PRAYING THAT THE COURT WILL ORDER that Rodney McGhee’S Supervised Release be allowed to expire
as scheduled on May 21, 2005, with the understanding that the United States Attorney’s Oftice will be responsible
for the continued collection of restitution

ORDER OF COURT Respectfully,
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C nsidered and ordered this , M day (/~

?"'Y QP' g , 2005 and ordered Edward E. Shaw, U.S. Probation Officer
filed d made a part of the records in the Electronic Monitoring Specialist
the above case.

§A é/MM_ Plaee: Memuhis. TN

Date: Anril 26. 2005 /"

 

 

 

UNITED STATES DISTRlCT IUDGE g
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DISTRIC COURT - WESRNTE D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:Ol-CR-20005 was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

